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 4
                                 UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                   )
                                                 )     Case No. 2:12-cr-00004-APG-GWF
 8                        Plaintiff,             )
                                                 )
 9   v.                                          )     ORDER
                                                 )
10   JORDAN GEORGIEVSKI,                         )     Motion for Access to Government
                                                 )     Discovery Without Costs - #953
11                        Defendant.             )
                                                 )
12
13          This matter is before the Court on Georgievski’s Motion for Access to Government
14   Discovery Without Cost (#953) filed March 26, 2015. Upon review and consideration,
15          IT IS HEREBY ORDERED that Georgievski’s Motion for Access to Government
16   Discovery Without Cost (#953) is granted.
17          DATED this 30th day of March, 2014.
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19                                               ______________________________________
                                                 GEORGE FOLEY, JR.
20                                               United States Magistrate Judge
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